Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 1 of 11 PageID #: 659




   TROY LAW, PLLC
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   Attorney for the Plaintiff, proposed FLSA Collective
   and potential Rule 23 Class

   UNITED STATES DISTRICT COURT                                 Case No. 19-cv-07267
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------X
   JOSE PANORA,
   on his own behalf and on behalf of others similarly
   situated                                                     DECLARATION OF JOHN
                                       Plaintiff,               TROY IN RESPONSE TO
                                       v.                       ORDER DATED
   DEENORA CORP                                                 OCTOBER 1, 2020
            d/b/a Dee's;
   DEE'S BRICK OVEN PIZZA, INC
            d/b/a Dee’s; and
   DEERAN ARABIAN
            a/k/a Dee Arabian

                                       Defendants.
   ---------------------------------------------------------X

          JOHN TROY, an attorney admitted to practice law in the State of New York and

  before the United States District Court for the Eastern District of New York, hereby affirms

  under penalty of perjury that:



      1. I am the principal of Troy Law, PLLC and I submit this affirmation in response to

  Judge Cogan’s Order dated October 1, 2020, to address three issues: (1) evidence

  corroborating our allegation that Defendants’ counsels directed Robert Denes to contact

  Plaintiff, (2) evidence corroborating our allegation that Defendants’ Counsel caused

  Deeran Arabian to contact Plaintiff in violation of attorneys’ ethics rules, (3) our failure to

  provide all responsive text messages between Plaintiff and Daniel Perez.
Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 2 of 11 PageID #: 660




     2. I will address each of the three inquiries by turn, below:

     3. Annexed to my Affirmation are:

      1.       True copy of the Offer of Judgment email dated September 2, 2020 at 14:15.

               See Exhibit 01.

      2.       True copies of text message screenshots of text messages Robert Denes sent to

               Plaintiff

             i.     dated September 2, 2020 at 10:39 more than 3 hours before the Offer of

                    Judgment was sent, specifying that “Patron [Spanish for Boss] texted me

                    last night, did I hear any news from you. I told him, I did not bother you.

                    But were you able to talk to your lawyer”;

           ii.      dated September 4, 2020 at 16:02 attaching a snapshot of the text message

                    from Deeran Arabian to Robert Denes stating that “If he wants the offer

                    her [sic] should tell his attorney and email me and say he wants to take the

                    settlement offer from yesterday.

                    Dee@deesnyc.com

                    It’s simple words



                    Dee I agree to settle this

                    offer of the Rule 68 made on Weds 8/2/20.”

           iii.     dated September 21, 2020 at 19:02 and stating: “I can’t believe you really

                    put my name on your case. Very sad , very sad”

                    See Exhibit 02 iPhone profile of Robert Denes, followed by Text

                    Messages from Robert Denes.



                                                  2
Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 3 of 11 PageID #: 661




                     See Exhibit 03 Screenshot of text Message from Deeran Arabian to

                     Robert Denes sent from Robert Denes to Plaintiff.

      3.         True Copy of AT&T Call Report to Plaintiff’s Number from Robert Denes’s

                 Number with;

             i.      Friday, August 7, 2020;

           ii.       Friday, August 14, 2020;

           iii.      Monday, August 24, 2020;

           iv.       Saturday, August 29, 2020;

            v.       Wednesday, September 2, 2020; and

           vi.       Thursday, September 3, 2020. See Exhibit 04 AT&T Report.

      4.         True copy of Text Message from Deeran Arabian to Plaintiff annexing Offer of

                 Judgment snapshot on September 2, 2020 at 14:37 (less than 25 minutes from

                 the time when the Offer of Judgment is emailed to us).

                 See Exhibit 05 iPhone profile of Deeran Arabian followed by Text Message

                 from Deeran Arabian to Plaintiff attaching as Photo Exhibit the Offer of

                 Judgment.

      5.         True copy of email from Deeran Arabian to Plaintiff annexing Offer of

                 Judgment snapshot on September 2, 2020 at 14:52 attached as Exhibit 06;

      6.         True copy of voice message from Deeran Arabian to Plaintiff on September 2,

                 2020 at 14:35 attached as Exhibit 07;

      7.         True copy of iPhone X Screen Replacement Order dated May 14, 2020 from

                 Amazon attached as Exhibit 08;




                                                   3
Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 4 of 11 PageID #: 662




       8.   True copy of iPhone XI Phone Replacement Order dated July 3, 2020 from

            Apple Store attached as Exhibit 09;

       9.   True copy of Text Messages from December 7, 2017 to February 13, 2018,

            with iMessage on top showing that there are no further messages that can be

            retraced on the iPhone XI attached as Exhibit 10.




  Basis for Plaintiff’s Counsel’s Accusation that Defense Counsel’s “Directed” Mr.

  Robert Denes to Contact Plaintiff

  Direct Evidence

     4. There is incontrovertible evidence that Robert Denes has perjured himself under

  oath when he states that “Dee’s senior management did not ask me to speak to Plaintiff.”

  See Dkt Entry No. 61-3 (Sept. 30, 2020) at *3.

     5. There are two lines of direct evidence buttressing Plaintiff’s claim and showing

  that Robert Denes (and by extension, his employer Deeran Arabian, who certainly knows

  that Robert Denes is perjuring himself; and his employer’s attorney, who knows that

  Deeran Arabian is contacting Robert Denes and giving him all of the insider information

  concerning the offer of Judgment) knows that he has been contacted by Dee’s senior

  management “to speak to Plaintiff”: text messages from Robert Denes dated September

  2, 2020 at 10:39 and September 4, 2020 at 16:02.

     6. The first of the two messages, dated September 2, 2020 at 10:39 AM, which

  again establishes Deeran Arabian and Robert Denes’s principal-agent relationship in

  coercing Plaintiff to settle the case or else pay Defendants’ attorneys’ fees took place 4



                                               4
Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 5 of 11 PageID #: 663




  hours prior to the actual proffer of the offer of judgment. See Exhibit 2 iPhone Profile

  and Text Messages from Robert Denes.

     7. In other words, Robert Denes must have had contact with Dee’s senior

  management in regard to the proffer of the Rule 68 offer. Had Robert Denes had no

  contact at all with Dee’s senior management (which Deeran Arabian is obviously a part

  of), there is no way that he would so coincidentally ask about “any news from you”

  merely “out of concern” as a friend, when he told Plaintiff again and again after talking

  through personal conversation items outside of the he was contacting him at the bequest

  of the employer.

     8. The second of two text message exchanges on September 4, 2020 includes a

  screenshot of a message from Deeran Arabian to Robert Denes on September 4, 2020

  incontrovertibly establishes that Deeran Arabian directed Robert Denes to contact

  Plaintiff. See Exhibit 03 Text Message from Deeran Arabian to Robert Denes

     9. The screenshot of the text message was sent in the context of a follow-up of a

  phone call that Robert Denes placed to Plaintiff at around 15:53, which is also

  incontrovertible from the AT&T Call Log. See 04 AT&T Call Log Checkmarked with

  Calls with Robert Denes.

     10. Robert Denes could not have known about the Offer of Judgment without input

  from Deeran Arabian and his attorney.

     11. Deeran Arabian could not have known about the Offer of Judgment without input

  from his attorney, who drafted it and who served it on Plaintiff’s attorney. Defendants

  cannot explain how Deeran Arabian could have obtained the Offer of Judgment to proffer

  to Plaintiff, through Robert Denes, even before it was served on Plaintiff’s attorney.



                                               5
Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 6 of 11 PageID #: 664




  Testamentary Evidence

      12. In addition to the text messages, there are two lines of testamentary evidence

  which buffer Plaintiff’s allegations: first, Plaintiff’s averments concerning the contents of

  the phone calls and conversations, which are again bolstered by and anchored in the

  AT&T Call Log and the text message exchanges between Plaintiff and Robert Denes. See

  Exhibits 02 iPhone Profile and Text Messages from Robert Denes, 04 AT&T Call

  Log Checkmarked with Calls with Robert Denes.

      13. The first line of testamentary evidence, which concerns the very perseverant

  calling of Robert Denes to secure a meeting with Plaintiff, from August 7, 2020 through

  August 29, 2020, ends with Robert Denes, stating that “Look my boss is calling me

  asking if I have been getting in touch with you and want to know what you wanted to

  do.” See Panora Aff. ¶¶3-13 (Robert Denes setting up the meeting); 14-27 (Robert

  Denes saying he’s “heard if you lose your case you will need to pay my boss’ lawyers”

  but that if Plaintiff took the offer, then it will be “all done”).

      14. During that same conversation, Robert Denes misrepresented to Plaintiff that if he

  lost, then he will need to pay Defendants’ Counsel’s attorneys’ fees, when in fact the

  FLSA/ NYLL has a prevailing Plaintiff, not prevailing Party standard for application of

  fees, and at most the rejection of a Rule 68 is the costs. See id. ¶¶14-27.

      15. This exact same argument was made by Aaron N. Solomon and Taimur Alamgir

  in his Opposition to Plaintiff’s Motion for Conditional Class Certification. See Dkt. Entry

  No. 51 at *31, citing a peripheral case dated more than 12 years ago, in which the notice

  informed potential opt-in Plaintiffs that “they may be asked” among other things, “to (4)

  pay costs if they do not prevail.”



                                                  6
Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 7 of 11 PageID #: 665




     16. That testamentary evidence is rooted in and again supported by the culminating

  text message which includes a snapshot of the message from Deeran Arabian to Robert

  Denes, which Robert Denes then forwarded to Plaintiff. See Exhibit 03 Text Message

  from Deeran Arabian to Robert Denes. See Panora Aff. ¶¶28-39.

  Timing of Offer of Judgment and Robert Denes’ Discussion of the “Offer”

     17. Even before the Second Offer of Judgment (repeating the same amount of the

  First Offer of Judgment) was sent on September 2, 2020, Robert Denes already reached

  out to Plaintiff concerning the “offer.” See Exhibits 02 iPhone Profile and Text

  Messages from Robert Denes, 04 AT&T Call Log Checkmarked with Calls with

  Robert Denes..

     18. Contrary to Defendants’ representation, the subject line of Plaintiff’s Counsel’s

  email is entitled “Improper Contact between Plaintiff and Defendants’ Agent” dated

  September 2, 2020 at 10:08 clearly establishes the urgency of Plaintiff’s message to

  Defendants. See Dkt. Entry No. 56-1 “Re: NYED Deenora Dee's 19-cv-07267

  +Panora, Luis v // Improper Contactbetween Plaintiff and Defendant's Agent.”

     19. As is detailed in Plaintiff’s Response to Defendants’ Motion for Sanctions,

  Defendant’s Counsel has consistently deflected any inquiries concerning the nature of the

  contact by stating that they have no knowledge and also that it is lawful. See Dkt. Entry

  No. 56-1 and 56-2.

     20. While there is no dispute that contact between parties are lawful, there is also no

  dispute that contact by Defendants’ counsel to represented parties without that parties’

  attorney’s consent (and indeed, over their objections) is unlawful and not ethical. See

  generally Dkt. Entry No. 56.



                                               7
Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 8 of 11 PageID #: 666




  Basis for Plaintiff’s Counsel’s Accusation that Defense Counsel’s “Directed” Mr.

  Deeran Arabian to Contact Plaintiff

     21. On the day of, and after the Offer of Judgment is proffered by Defendants’

  counsel to Plaintiff, we have direct evidence from Deeran Arabian’s text message to

  Robert Denes, Robert Denes’ message to Plaintiff, and Deeran Arabian’s text message to

  Plaintiff that Defendant Deeran Arabian is closely coordinating with Defendants’ counsel

  to mount a strategy to cajole Plaintiff into accepting an offer of judgment outside of

  Plaintiff’s attorneys’ knowledge or consent. See Exhibit 05 Text Message from Deeran

  Arabian to Plaintiff; 06 Email from Deeran Arabian to Plaintiff; 07 Voice Message

  from Deeran Arabian to Plaintiff.

     22. First, in Robert Denes’ message mentioned above dated September 2, 2020 at

  10:39 AM asks about “any news from” Plaintiff for the Patron, Deeran Arabian. See

  Exhibit 02 iPhone Profile and Text Messages from Robert Denes.

     23. This news revolves around the Offer of Judgment, which is a subject during the

  in-person conversation between Plaintiff and Robert Denes and Plaintiff’s home in

  Queens. See Exhibit 01 Offer of Judgment dated September 2.

     24. Second, the voice message, text message, and email from Deeran Arabian himself

  to Plaintiff, attaching the Offer of Judgment as photo attachments each within less than

  half an hour from the time when it was sent to Plaintiff’s counsel establish through close

  proximity of the messages and the offer of judgment (which was identical except the date

  sent as the first offer of judgment) that it is done in conjunction with Defendants’

  attorneys. See Exhibit 05 Text Message from Deeran Arabian to Plaintiff; 06 Email




                                               8
Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 9 of 11 PageID #: 667




  from Deeran Arabian to Plaintiff; 07 Voice Message from Deeran Arabian to

  Plaintiff.

  Explanation of Failure to Provide Messages Before 2018

     25. Because of a phone replacement (not resulting from anyone’s fault, but regular

  wear and tear) in early July 3, which predates the discovery demands, Plaintiff’s text

  message with Daniel Perez only goes to December 7, 2017. See Panora Aff. ¶¶45-50.

     26. As such, before 2018, there is only one month that is available. See id.

     27. We did request for Plaintiff all messages between Plaintiff and Daniel Perez. See

  id. ¶50.

     28. In fact, we emailed Plaintiff the Document Production on August 23, 2020 that

  organized all of the document production received and asked “if there is anything missing

  from the documents, be sure to let us know.” See id. ¶52.

     29. However, because the text messages are personal messages about the weather,

  soccer, and random things, Plaintiff did not provide and Plaintiff’s attorneys did not have

  in their possession any documents pertaining to messages between Plaintiff and Daniel

  Perez. See id. ¶53-54.

     30. Plaintiff’s Counsel did object to the discovery request for irrelevance because any

  text messages have nothing to do with the wage-and-hour lawsuit. See id.

     31. After the Deficiency Letter was received on September 9, 2020, we followed up

  by phone to request the screenshot of all text messages between Plaintiff and Daniel

  Perez. See id. ¶55-56.

     32. We received a text message dated July 29, 2018 that we promptly provided to

  Defendants’ attorneys with our initial objections incorporated. See id. ¶¶57-58.



                                               9
Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 10 of 11 PageID #: 668




      33. On September 11, 2020, we were assured that there are “no other docs in

   possession.” See id. ¶59.

      34. When Defendants’ attorneys motioned to sanction Plaintiff and Plaintiff’s

   Counsel, claiming that we have additional responsive documents, we again requested for

   all of the text messages. See id. ¶60.

      35. We iterated for Plaintiff to turn over “all text messages” regardless of whether it’s

   work related, on September 15, 2020, as we do not wish to contest an issue that have little

   relevance to our claims and detract from the lawsuit. See id. ¶61.

      36. In response to our inquiry, we received all messages from February 13, 2018 to

   September 15, 2020, which we again promptly provided to Defendants’ attorney. See id.

   ¶62.

      37. In response to Defendants’ request for messages before 2018, we again inquired

   with Plaintiff today, October 2, 2020, and we received messages from December 7, 2017

   to February 13, 2018, which again are mostly about football games and bear no relevance

   to the wage-and-hour lawsuit. See id. ¶63.

      38. We did inquire why such documents were not provided to us in the first instance,

   and we were told, and quite reasonably, that “they are just about football games and have

   nothing to do with this wage-and-hour lawsuit.” See id. ¶64.

      39. Nevertheless, to avoid contesting a non-issue, which Defendants’ counsels are

   evidently very eager to blow up, we have provided in conjunction with this response, the

   text messages. See Exhibit 10 Text Messages pre 2018 Text Messages.




                                                10
Case 1:19-cv-07267-BMC Document 62 Filed 10/02/20 Page 11 of 11 PageID #: 669




      40. As the above description of our repeated inquiries to Plaintiff, which are accorded

   with due seriousness of phone calls verifying that all documents are provided, we have

   acted in good faith and are not hiding the ball at all.

      41. For the above-reasons stated above, we respectfully request that this Court

   exercise its sound discretion to not sanction Plaintiff.

      42. In addition, we respectfully request that this Court hold an inquest hearing

   concerning the nature of the improper contact which has transpired between Plaintiff and

   Defendant Deeran Arabian, his employee Robert Denes, which we highly believe is done

   in coordination with and at the bequest of Defendants’ attorneys, for the reasons set forth

   above.

      43. Lastly we request for all other remedies that the Court deems just and proper,

   including the Court exercising its sound discretion to look into Robert Denes’ knowing

   perjury at the bequest of his employer and his employer’s attorney, who knew or should

   have known of Deeran Arabian’s contact with Robert Denes in conjunction with the

   Second Offer of Judgment.




                                                      Respectfully Submitted,

                                                      /s/ John Troy
                                                      John Troy

   JT/mh

   cc: All Counsel of Record via ECF




                                                 11
